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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

JESUS YANEZ,                           §
                                       §
     Plaintiff,                        §
                                       §
v.                                     § CIVIL ACTION NO.: 3:21-cv-00073-DCG
                                       §
WALGREEN CO.                           §
    Defendant.                         §




                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION

 JESUS YANEZ,                                    §
                                                 §
       Plaintiff,                                §
                                                 §
 v.                                              § CIVIL ACTION NO.: 3:21-cv-00073-DCG
                                                 §
 WALGREEN CO.,                                   §
     Defendant.                                  §




                    DEFENDANT’S MOTION FOR SUMMARY JUDGMENT


       Defendant Walgreen Co. (“Walgreens”) moves for summary judgment on Plaintiff Jesus

Yanez’s sole claim in this suit: age discrimination under the Texas Commission on Human Rights

Act (TCHRA). Because there is no genuine dispute as to any material fact, Walgreens respectfully

requests summary judgment. See FED. R. CIV. P. 56(a).

                       I.     INTRODUCTION & SUMMARY OF ARGUMENT

       Yanez—an Assistant Store Manager at a Walgreens store in El Paso—was caught trying

to sell Walgreens’ property online; specifically, the store’s Nestaflex “rollers” (a large 200-300lb

metal extendable conveyor on wheels):




                                                 1
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Ex. 1-D at D-JY-000336. After Yanez admitted to this conduct, District Manager Froylan

Villanueva terminated Yanez’s employment for violating company policies. Yanez filed a charge

of discrimination with the Equal Employment Opportunity Commission (EEOC), claiming

Villanueva fired him because of his age. Ex. 8. Lacking any evidence of age discrimination, the

EEOC promptly dismissed Yanez’s charge with a no-cause finding. Ex. 9 at D-JY-000073,

000094.

         Yanez then sued Walgreens for age discrimination. Yanez has continued to admit that he

tried to sell Walgreens’ property online. However, he has sought to justify his conduct by claiming

other employees frequently take Walgreens’ property home and that his supervisor, Store Manager

Ruben Alba, gave him permission to take Walgreens’ property. Yanez has also concocted a

conspiracy theory that District Manager Villanueva, other district managers, and several

departments of Walgreens are all part of an effort to eliminate more senior, higher earning

employees to improve the bottom line. However, Yanez has no competent evidence showing that

his termination for violating company policies was a pretext for age discrimination. Thus,

Walgreens is entitled to summary judgment.

                               II.    ARGUMENT & AUTHORITIES

         The sole claim in this suit is TCHRA age discrimination. When, as here, 1 a plaintiff has no

direct evidence of age discrimination under the TCHRA, courts apply the McDonnell Douglas

burden-shifting framework. Ross v. Judson Indep. Sch. Dist., 993 F.3d 315, 321 (5th Cir. 2021).

“Under McDonnell Douglas, a plaintiff has the initial burden of establishing a prima facie case of

discrimination.” Id. If the plaintiff meets this prima facie burden, the burden of production “shifts

to the defendant to articulate some legitimate, nondiscriminatory reason for its action.” Id.


  1
      Yanez concedes that his age was not the stated reason for his termination. Ex. 4 at 108, 124–
25.
                                                  2
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(quotation marks omitted). If the employer provides such a reason, “the burden shifts back to the

plaintiff to prove that the reason is pretextual.” Id.

      A. District Manager Villanueva fired Yanez because he believed that Yanez had
      violated Walgreens’ policies. Thus, Yanez must show that this reason for his
      termination was a pretext for age discrimination.

         Under McDonnell Douglas, an employer has a legitimate, non-retaliatory reason to

terminate an employee for violating company policy. See Bauer v. Albemarle Corp., 169 F.3d 962,

965, 967 (5th Cir. 1999) (holding employee’s violation of conflict-of-interest policy was a

legitimate non-discriminatory reason for termination). 2 Thus, when an employee violates an

employer’s policies regarding safety, waste disposal, or misappropriation of company property,

the employer has a legitimate non-discriminatory reason to fire the employee. See Spencer v.

Schmidt Elec. Co., 576 F. App’x 442, 451 (5th Cir. 2014) (safety policy violation); Simien v. Chem.

Waste Mgmt., Inc., 30 F. Supp. 2d 939, 944 (W.D. La. 1998), aff’d, 174 F.3d 199 (5th Cir. 1999)

(waste disposal policy violation); Tex. Dep’t of State Health Servs. v. Resendiz, — S.W.3d —, No.

08-19-00273-CV, 2021 WL 5564436, at *7 (Tex. App.—El Paso Nov. 29, 2021, no pet. h.)

(misappropriation-of-property policy violation). 3 Villanueva fired Yanez for violating company

policy, which subjected Walgreens to a risk of liability. Ex. 1 at 3 ¶¶ 14–15; Ex. 4 at 56–57.4 Thus,

Yanez has the burden to show this reason was a pretext for age discrimination.




  2
    Although the Bauer court was considering a Title VII claim, Texas courts “consult judicial
interpretations of Title VII . . . when reviewing TCHRA claims.” Ross, 993 F.3d at 321.
  3
    The policy violation need not be drastic, severe, or cause any direct physical harm. See Jones
v. Lubbock Cty. Hosp. Dist., 834 F. App’x 923, 927 (5th Cir. 2020) (holding violation of “employee
conduct policy forbidding gossip” was a legitimate non-discriminatory reason for termination).
  4
    Villanueva fired Yanez for violating the Waste Disposal Policy, the Standards of Conduct,
and the Team Member Safety and Health Policy. Ex. 1 at 3, ¶ 14.
                                                   3
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       B. Yanez cannot show that the reason for his termination was a pretext for
       age discrimination.

       “Pretext may be established through evidence of disparate treatment or by showing the

employer’s explanation to be false or unworthy of credence—that it is not the real reason for the

adverse employment action.” Jones v. Gulf Coast Rest. Grp., Inc., 8 F.4th 363, 368 (5th Cir. 2021)

(quotation marks omitted). The employee “must produce substantial evidence of pretext.” Id.

(quotation marks omitted). “The quality and weight of the evidence determines whether it is

substantial.” Id. “In deciding whether summary judgment is warranted, a court should consider,

among other things, the probative value of the proof that the employer’s explanation is false and

any evidence that supports the employer’s case.” Id. (cleaned up).

       As set out in Jones, well-settled Fifth Circuit precedent establishes three different ways to

show pretext: (1) the employer’s basis for the employee’s termination was false; (2) even if the

employer’s basis is true, the employer disparately treated the employee as compared to similarly

situated employees outside of the protected class; and (3) the employer’s basis for termination is

otherwise not worthy of credence and age discrimination was the real reason for termination. See

id. Here, Yanez admitted the factual basis for his termination—not disposing of the old rollers

through StoreCare+ and taking them home to sell online—was true. Ex. 4 at 43; Ex. 6 at D-JY-

000322. Yanez has also been unable to identify any similarly situated employee under the age of

40, or substantially younger than him, who was treated more favorably. See Part B.2 infra. Finally,

Yanez’s efforts to discredit the reason for his termination are unsupported by any competent

evidence and they otherwise fail as a matter of law. See Part B.3 infra.




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       1. Villanueva’s explanation for Yanez’s termination is indisputably true because
       Yanez admitted he engaged in the conduct for which he was terminated.

       District Manager Villanueva terminated Yanez’s employment because: (1) another store

manager (Bernal) complained to Villanueva that Yanez was attempting to sell the old rollers

online; (2) an Asset Protection Manager (Birmaher) investigated the complaint; and (3) during the

investigation, Yanez and Alba admitted that Yanez took the old rollers home and tried to sell them

online. Ex. 6 at D-JY-000322. Bernal sent Villanueva a screenshot showing that Yanez was

attempting to sell the old rollers online:




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Ex. 6 at D-JY-000322. During the investigation into Bernal’s complaint, Yanez wrote a statement

admitting that he took the old rollers home and tried to sell them online:




Id. at D-JY-000326. During his deposition, Yanez again admitted that he took the old rollers home

and tried to sell them online. Ex. 4 at 43, 57. Instead of arguing the underlying factual basis for his

termination was false, Yanez argues he did not violate the Waste Disposal Policy because

Villanueva misapplied the policy. Specifically, Yanez stated the Waste Disposal Policy applies

only to “waste” and the old rollers were not “waste,” they were “trash.” Ex. 4 at 111–13.

               a. Because Villanueva had a good faith belief that Yanez violated Walgreens’
               policies, whether Yanez actually violated the policies is irrelevant.

       The relevant inquiry is not whether Yanez violated Walgreens’ policies, but whether

District Manager Villanueva had a good faith belief that he did. When, as here, an employee is

terminated based on another employee’s complaint, “the validity of the initial complaint is not the

central issue, because the ultimate falseness of the complaint proves nothing as to the employer,

only as to the complaining employee.” Waggoner v. City of Garland, 987 F.2d 1160, 1165 (5th

Cir. 1993). “The real issue is whether the employer reasonably believed the employee’s allegation

and acted on it in good faith, or to the contrary, the employer did not actually believe the co-

employee’s allegation but instead used it as a pretext for an otherwise discriminatory dismissal.”


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Id. “Thus, the inquiry is limited to whether the employer believed the allegation in good faith and

whether the decision to discharge the employee was based on that belief.” Id. at 1165–66.

       To the extent that Yanez’s waste-versus-trash distinction “relates to his innocence of the

[policy violation] charge, it is irrelevant. He must, instead, produce evidence demonstrating that

[Villanueva] did not in good faith believe the allegations, but relied on them in a bad faith pretext

to discriminate against him on the basis of his age.” Id. at 1166. An employee’s disagreement with

an employer’s reading and application of a policy “falls short of the substantial evidence required

to prove pretext.” See Jones, 8 F.4th at 368. Thus, Yanez cannot meet his burden to show pretext

merely by showing he did not actually violate the Waste Disposal Policy; he must show that

Villanueva did not believe in good faith that he had violated the policy. See Kitchen v. BASF, 952

F.3d 247, 253 (5th Cir. 2020) (holding whether employee drug test results were a false positive

was irrelevant); Eaton-Stephens v. Grapevine Colleyville Indep. Sch. Dist., 715 F. App’x 351, 355

(5th Cir. 2017) (holding employee’s actual innocence of alleged academic fraud did not show

pretext); see also Tex. Health & Human Servs. Comm’n v. Enriquez, No. 08-19-00279-CV, 2021

WL 3185719, at *13 (Tex. App.—El Paso July 28, 2021, no pet.) (stating employers have no

burden to prove a policy violation beyond a reasonable doubt).

       Irrefutable evidence establishes that, even if Yanez could demonstrate that his conduct did

not violate Walgreens’ policies, Villanueva believed in good faith that it did. For example, the

Waste Disposal Policy requires bulk items to be discarded by opening a ticket with StoreCare+ for

removal. Ex. 1-A at D-JY-000235. Villanueva directed Store Manager Alba to open a ticket with

StoreCare+ for removal of the rollers, and texted Alba to ask whether he had done so. Ex. 1 at 2

¶¶ 9–10, 12; Ex. 6 at D-JY-000325. This evidence establishes Villanueva’s good faith belief—

before he knew that Yanez took the rollers home—that the rollers were a “bulk item” to be



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discarded as per the Waste Disposal Policy’s procedure for disposing of bulk items through

StoreCare+.

       Irrefutable evidence also establishes that Villanueva’s belief that the policy applied to the

old rollers was objectively reasonable. Such determinations are made by a court as a matter of law,

and not by a jury. See Kitchen, 952 F.3d at 253 (affirming grant of summary judgment and holding,

as a matter of law, that the employee’s evidence failed to show the employer “did not reasonably

believe its non-discriminatory reason for discharging him”). The Waste Disposal Policy refers to

“bulk” items, such as pallets, shelves, displays, and “other large items” that “should not go in the

compactor, as they will cause extensive damage.” Ex. 1-A at D-JY-000235. For such “large items,”

the proper procedure is to “call StoreCare+ . . . to open a work order for a bulk pickup.” Id. The

Waste Disposal Policy plainly applies to large items that could cause damage to a trash compactor

and that are more appropriate for “bulk pickup.” Id. The policy provides “pallets” are an example

of a large item subject to the policy. Id. According to Yanez, the old rollers at issue are bulkier and

heavier than a pallet; the old rollers were 200-300lbs, made of out metal, and unwieldy. Ex. 4 at

97. Because the rollers were much larger and heavier than an ordinary pallet, Villanueva’s belief

that the rollers should be disposed of as per the Waste Disposal Policy’s procedure for bulk

collection was objectively reasonable as a matter of law. Because Yanez admitted he did not

dispose of the old rollers as per the ticketing procedure with StoreCare+, Villanueva’s good faith

belief that Yanez violated the Waste Disposal Policy was objectively reasonable. This ends in the

inquiry. See Waggoner, 987 F.2d at 1165–66.

               b. Alternatively, Yanez has no competent evidence that he complied with
               Walgreens’ policies.

       Yanez argues he did not violate the Waste Disposal Policy because the rollers were “trash,”

not “waste.” Attempting to distinguish “trash” from “waste,” Yanez testified during his deposition

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as follows: “Trash is trash. Waste is waste . . . Well, waste is a broke door. That’s waste. Trash is

trash containers, garbage. It’s just -- it’s different.” Ex. 4 at 112. When asked why the broken

rollers were not like a broken door, Yanez responded that the rollers were “deemed trash.” Id. at

112–13. In sum, according to Yanez, the Waste Disposal Policy did not apply to the rollers because

they were deemed by Store Manager Alba to be “trash” and not “waste.” See id. at 111–13.

       For several reasons, Yanez’s distinction between “waste” and “trash” is unsupported by

any competent evidence and thus fails as a matter of law. First, during his deposition, Yanez

palpably failed to make any discernable distinction between “waste” and “trash.” See id. Indeed,

the words are synonymous. Second, the words “waste” and “trash” are used interchangeably

throughout the Waste Disposal Policy. Ex. 1-A at D-JY-000233 to 000236. Thus, Yanez’s waste-

versus-trash distinction is wholly unsupported by anything in the policy itself. Third, Yanez

admitted that even if the rollers were “waste,” he “wouldn’t follow the policy.” Ex. 4 at 113. In

sum, Villanueva’s attempt to distinguish between “waste” and “trash” is arbitrary and self-serving,

and thus not “substantial evidence of pretext.” See Jones, 8 F.4th at 368; Jackson v. Cal-W.

Packaging Corp., 602 F.3d 374, 379 (5th Cir. 2010) (explaining that, for a pretext analysis, “self-

serving” denials of misconduct “are insufficient to create a triable issue of fact as to whether [the

employee was fired] because of his age”).

       2. Yanez cannot show he was disparately treated, as compared to any similarly
       situated employee outside of the protected class.

       During his deposition, Yanez asserted he was disparately treated. To show pretext through

disparate treatment as compared to another employee (i.e. a comparator), the employee must show

the comparator was: (1) outside of the protected class; (2) similarly situated; and (3) treated more

favorably than the other employee. See Ross v. Judson Indep. Sch. Dist., 993 F.3d 315, 322 (5th

Cir. 2021). Although Yanez has identified two proposed comparators—Store Manager Alba and

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another Assistant Store Manager Eddie Marquez (who twice allegedly placed old rollers outside

near the store dumpster after calling StoreCare+)—neither comparator satisfies the requirements

necessary to show disparate treatment. Ex. 4 at 76–79, 151.

       As a matter of law, Marquez is an invalid comparator. First, Marquez was not outside of

the protected class. For his age discrimination claim, Yanez would need to show that Marquez was

either younger than 40 years of age, or significantly younger than him. See Ross, 993 F.3d at 323.

However, Marquez is approximately the same age as Yanez. 5 Because Marquez is not younger

than 40 or substantially younger than Yanez, and thus not within the protected class for an age

discrimination claim, Marquez is not a valid comparator to show Walgreens treated younger

employees more favorably than Yanez. Cf. Tex. Dep’t of State Health Servs. v. Resendiz, No. 08-

19-00273-CV, 2021 WL 5564436, at *4 (Tex. App.—El Paso Nov. 29, 2021, no pet. h.)

(“Resendiz [male] was replaced by only males, and the comparators were not really comparators”).

       Second, Marquez was not similarly situated. Employees who have different supervisors are

not similarly situated for purposes of showing pretext under the TCHRA. Tex. Tech Univ. Health

Scis. Ctr.-El Paso v. Flores, 612 S.W.3d 299, 312 (Tex. 2020). According to Yanez, Marquez was

an assistant store manager in a different district and reported to a different district manager; he did

not report to Villanueva. Ex. 4 at 77–78; see Ex. 1 at 3 ¶ 17; Ex. 11 at 25. Furthermore, Marquez

testified that both times he placed the old rollers by the dumpsters, he had called StoreCare+ before

disposing of his store’s old rollers and he did not take the rollers home to sell online. Ex. 11 at 33.

He also testified he had no idea whether his district manager (who was not Froy Villanueva) knew




  5
    During his deposition, Yanez testified that Marquez is older than he is. Ex. 4 at 83. Marquez
testified his date of birth is August 9, 1967. Ex. 11 at 14. In his EEOC charge, Marquez testified
he was also born in 1967. Ex. 8.
                                                  10
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that he placed the old rollers near the trash. Id. see Ex. 1 at 3, ¶ 17. Because Marquez is not similarly

situated, he cannot serve as a comparator for Yanez’s claim. See Ross, 993 F.3d at 322.

        As a proposed comparator, Store Manager Alba fares no better. First, like Marquez, Alba

is within the protected class. In his sworn EEOC charge, Yanez admitted that Alba is five years

older than him. Ex. 8. Because Alba is not under the age of 40 or significantly younger than Yanez,

Alba is within the protected class and cannot serve as a comparator to show disparate treatment.

See Resendiz, 2021 WL 5564436, at *4. Second, Alba was not treated more favorably than Yanez.

During his deposition, Yanez admitted that Alba was also terminated for the same reason that he

was terminated. Ex. 4 at 42, 124. Because Yanez and Alba were treated identically, Alba was not

treated more favorably than Yanez and Alba’s circumstances cannot show disparate treatment.

Yanez is therefore unable to show pretext via disparate treatment.

        3. Yanez has no competent evidence to discredit the basis for his termination and,
        alternatively, his attempts to do so fail a matter of law.

        As shown above, the basis for Yanez’s termination was not false, and Yanez cannot show

that District Manager Villanueva applied Walgreens’ policies more favorably for younger

employees. Because Villanueva had an objectively true, reasonable, and non-discriminatory basis

to terminate Yanez’s employment, Yanez can prevail only if he can produce “substantial evidence”

that Villanueva’s “real reason” for firing him was because of his age. See Jones, 8 F.4th at 368.

Notably, Yanez concedes that he never heard anyone at Walgreens, including Villanueva, say

anything ageist or make derogatory comments regarding age. Id. at 71–72. Nevertheless, Yanez

attempts to show pretext because: (1) he was supposedly not given any termination paperwork; (2)

Villanueva should have used progressive discipline because Yanez’s conduct was justified or

excused; and (3) there is a conspiracy at Walgreens to eliminate more senior, higher paid




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employees to help the bottom line. These arguments all fail to show Villanueva’s real reason for

terminating Yanez was his age.

               a. The alleged insufficiency of Yanez’s termination paperwork does not
               show the real reason for his termination was his age.

       In his EEOC charge, Yanez stated, “I believe that the reason provided for my termination

is pretext . . . in that I was not provided with any termination paperwork.” Ex. 8. During his

deposition, Yanez did not elaborate on this accusation or assert that he still believed the lack of

termination paperwork was evidence of pretext. Instead, Yanez admitted that District Manager

Villanueva met with him and informed him of the reason for his termination. Ex. 4 at 56–57. Even

if Villanueva had not given Yanez any reason why he was terminated, this would not constitute

evidence of pretext. See Butler v. Ohio Power Co., 91 F.3d 143 (6th Cir. 1996) (stating “[t]he fact

that defendant’s articulated reasons for the termination decision were not all revealed to plaintiff

at her termination meeting” was “insufficient to demonstrate pretext”). Undisputed evidence also

establishes that Yanez received some termination paperwork; specifically, termination paperwork

regarding his COBRA benefits. Ex. 10. Yanez has been unable to articulate how, or cite any

authorities supporting that, the alleged insufficiency of his termination paperwork proves pretext.

Thus, any alleged insufficiency in Yanez’s termination paperwork is not substantial evidence of

pretext to overcome a summary judgment challenge. See Jones, 8 F.4th at 368.

               b. Villanueva’s failure to use progressive discipline does not show the real
               reason for Yanez’s termination was his age.

       Yanez asserted during his deposition that Villanueva’s reason for terminating him was

“BS” because it was a minor violation, and he brought the rollers back and no one was injured or

harmed. Ex. 4 at 80–81. Yanez also stated that, even if he violated the Waste Disposal Policy,

District Manager Villanueva could have “start[ed] with progressive write-ups.” Id. at 83.



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       However, the failure to use “progressive discipline” is not evidence of pretext when there

is no policy requiring progressive discipline and termination is an available consequence of

violating the policy. See Resendiz, 2021 WL 5564436, at *7. Here, Walgreens’ policies did not

require progressive discipline. Instead, the Standards of Conduct provide that “immediate

termination” may be the result of certain misconduct:




Ex. 1-C at D-JY-000229. The “non-exhaustive list” specifically includes failing to comply with

company policies, procedures, and/or guidelines:




       Yanez’s various justifications for trying to sell the old rollers online do not show that

Villanueva fired Yanez based on his age. During his deposition, Yanez testified that: (1) his

supervisor, Store Manager Alba, authorized him to take the rollers home and he immediately

brought the rollers back, Ex. 4 at 81; (2) employees frequently take discarded property from

Walgreens, id. at 150; and (3) many stores do not comply with the Waste Disposal Policy for bulk

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items, id. at 76. These explanations fail to show pretext for at least three reasons. First, they appear

to concede that Yanez violated Walgreens’ policies, and instead attempt to justify the violation.

See Carmon v. Saks Fifth Ave., LLC, No. 4:19-CV-02855-AGF, 2021 WL 1312976, at *16 (E.D.

Mo. Apr. 8, 2021) (holding employee’s belief that she had authority to take store merchandise,

based on prior authorization from a supervisor, did not discredit decisionmaker’s belief that

employee lacked authority to take merchandise).

        Second, Yanez’s explanations boil down to nothing more than a bandwagon fallacy:

Yanez is attempting to escape responsibility for violating Walgreens’ policies because other

employees also violated the policies; he was just the unlucky one who got caught. Even if Yanez’s

argument were facially plausible, his argument would prove too much: Yanez was terminated

because he was caught violating Walgreens’ policies—not because of his age. The fact that Yanez

believes the circumstances are unfair is not sufficient evidence of pretext. See Morrison v.

Weyerhaeuser Co., 119 F. App’x 581, 585 (5th Cir. 2004) (“[A] personal feeling that [an

employee] was treated incorrectly or unfairly . . . is not probative of pretext.”).

        And third, Yanez’s beliefs show he is palpably disinterested in the risk of liability to which

he subjected Walgreens. Yanez admitted he did not care about the risk that the old rollers might

injure someone because he would not see who took them and he assumed it would be “dumpster

divers” from Mexico:




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Ex. 4 at 79. Yanez elaborated:




Id. at 90. Moreover, the risk was not merely that someone else could have taken the rollers and got

injured, but that Yanez could have been injured on Walgreens’ property by lifting 200-300lbs

rollers onto his truck by himself. Id. at 90; Ex.1 at 3, ¶ 14. 6




  6
   Yanez believes that Walgreens does not care about employees lifting heavy items because
Walgreens had no issue with him lifting 50-60lbs tables into his truck for a March of Dimes
community event. However: (1) Yanez had approval to move the tables, and he did not have
approval to lift the rollers into his truck to take home to sell online; (2) the rollers are metal,
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       It is irrelevant whether Yanez brought the rollers back without anyone being injured. Yanez

asserts, in essence, a “no harm, no foul” argument. But such arguments do not show pretext. See

Collins v. Kimberly-Clark Penn., LLC, 247 F. Supp. 3d 571, 592 (E.D. Pa. 2017), aff’d, 708 F.

App’x 48 (3d Cir. 2017) (rejecting employee’s “‘no harm no foul’ argument” offered to show

pretext because the validity of a termination based on a policy violation “does not depend on the

result of a failure to comply”); Kalkhorst v. United Parcel Serv., Inc., 375 F. Supp. 2d 1079, 1082

(D. Colo. 2005) (rejecting similar “no harm, no foul” argument to show pretext for age

discrimination claim). Instead, Yanez’s callous disregard of the risks associated with his conduct

underscores the gravity of his violation of Walgreens’ policies. In short, Yanez’s attempts to justify

his violation of Walgreens’ policies is not substantial evidence showing Villanueva’s real reason

for terminating Yanez was Yanez’s age.

               c. There is no conspiracy at Walgreens to eliminate highly paid, more senior
               employees, and this conspiracy theory fails to show age discrimination as a
               matter of law.

       During his deposition, Yanez suggested there is a company-wide conspiracy to replace

more senior, higher-paid employees with younger, lower-paid employees to help the bottom line.

Ex. 4 at 132–34. When asked during his deposition why he believed that Walgreens was targeting

“elderly” employees because of their age, Yanez mentioned numerous Walgreens employees

under several different supervisors and district managers. Id. at 151–55. During discovery, Yanez

has also referred to other age discrimination suits against Walgreens. To make his conspiracy

theory apply to this case, Yanez also suggests that District Manager Villanueva, Norma Gonzalez

in Employee Relations, Cielo Birmaher in Asset Recovery, and Michael Romero, Director of



expandable, unsafe, and unwieldy, unlike tables; and (3) lifting a 50-60lb table onto a truck is a
far cry from lifting 200-300lb piece of machinery into a truck. Ex. 1 at 3, ¶ 16.


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Pharmacy & Retail Operations, are all part of the conspiracy to rid Walgreens of its more senior,

higher paid employees.

       Like most conspiracy theorists, Yanez has no competent supporting evidence. The Fifth

Circuit has repeatedly held that conspiracy theories based on an employee’s mere speculation are

insufficient to show pretext. See Waggoner, 987 F.2d at 1164; see, e.g., Shryer v. Univ. of Tex. Sw.

Med. Ctr. at Dall., 587 F. App’x 151, 158 (5th Cir. 2014); Bishop v. Texarkana Tex. Police Dep’t,

370 F. App’x 546, 548 n.1 (5th Cir. 2010). During his deposition, Yanez conceded he has “no

idea” why the employees he identified were terminated. Ex. 4 at 152–53. Although Yanez

adamantly denied that he was “speculating,” id. at 155, an employee’s belief of age discrimination

without any evidence is “speculation” as a matter of law, which is insufficient to show pretext. See

Waggoner, 987 F.2d at 1164 (“Waggoner’s statements concerning a conspiracy among Hamilton,

Phillips, and Connor is speculation. We have held that a plaintiff’s subjective belief that his

discharge was based on age is simply insufficient to establish an [age discrimination] claim.”).

       Furthermore, the mere existence of other age discrimination claims against an employer is

generally inadmissible and does not show that the real reason for an employee’s termination was

his age. See Brown v. Extraco Mortg. Co., 256 F. App’x 713, 714 (5th Cir. 2007); Ferguson v.

Extraco Mortg. Co., 264 F. App’x 351, 352 (5th Cir. 2007). Yanez has no competent evidence that

any other employee’s claim of age discrimination was meritorious or reflected an age-bias held by

District Manager Villanueva. Finally, Yanez believes he was targeted because, based on his hourly

rate, he assumed that he “was the highest paid assistant store manager in the entire company.” See

Ex. 4 at 66. However, Walgreens’ regional pay rates establish Yanez “was not even the highest

paid assistant store manager in El Paso.” Ex. 1 at 3, ¶ 18. Thus, Yanez has no competent evidence

that he would even be targeted in any such conspiracy.



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       Even if Yanez could present competent evidence supporting a conspiracy theory that

Walgreens eliminates more senior, higher-earning employees, this is not evidence of age

discrimination as a matter of law. In Hazen Paper Co. v. Biggins, the U.S. Supreme Court held

that alleged discrimination based on seniority is not necessarily discrimination based on age. 507

U.S. 604, 611 (1993). Instead, seniority and age—while related—are “analytically distinct.” Id.

Applying Hazen Paper, the Fifth Circuit has held that “termination of older employees to cut costs

. . . does not constitute age discrimination under the . . . TCHRA as a matter of law.” Jefferson v.

Christus St. Joseph Hosp., 374 F. App’x 485, 490 (5th Cir. 2010); see also Duncan v. Exxon Corp.,

66 F.3d 320 (5th Cir. 1995) (holding that employee could not show actionable age discrimination,

even when his “supervisors commented that it was not worth paying [him] $55,000 a year for the

six years it would take him to reach early retirement age”). Thus, even if Yanez had competent

evidence to prove his conspiracy theory, the evidence would nevertheless fail to show pretext as a

matter of law. Because Yanez lacks substantial evidence showing Villanueva’s reason for

terminating him was a pretext for age discrimination, Walgreens is entitled to summary judgment.

                       III.    CONCLUSION AND PRAYER FOR RELIEF

       To prevail on his TCHRA age discrimination claim, Yanez must be able to raise a genuine

issue of material fact that Walgreens’ reason for terminating him—taking the store’s rollers home

and trying to sell them online—was a pretext for age discrimination. As demonstrated above,

Yanez has no competent evidence to show pretext. Because there is no genuinely disputed issue

of material fact for trial, Walgreens prays that the Court render summary judgement on Yanez’s

TCHRA age discrimination claim and award Walgreens all other relief to which it is justly entitled.




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                              Respectfully submitted,

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